 Case 15-20032     Doc 141    Filed 05/07/19 Entered 05/07/19 14:17:46
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                                                                          05/07/2019

                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

IN RE:                                   §
                                         §
TEXAS ENTERPRISES, L.L.C.                §            Case No. 15-20032
d/b/a Bluebonnet Elite Assisted Living   §
xx--xxx2219                              §
102 Floyd St., Naples, TX 75568          §
                                         §
                        Confirmed Debtor §            Chapter 11

                          ORDER STRIKING PLEADING
                            FILED IN CLOSED CASE

        On May 1, 2019, an “Equity Holder’s Request for Certification of Non-
Compliance” was filed by Janusz Kecki ("Movant") in the above-referenced case.
However, the Court finds that this Chapter 11 case was closed by entry of a Final Decree
on May 2, 2016, after proper notice of an Application for Final Decree was filed and
noticed to all creditors. The case has remained closed since that time. Since pleadings
may not be filed in a closed case and no motion to reopen the case has been filed by any
party, just cause exists for the entry of the following order:

       IT IS THEREFORE ORDERED that the “Equity Holder’s Request for
Certification of Non-Compliance” filed by Janusz Kecki on May 1, 2019 is hereby
STRICKEN.

                               Signed on 05/07/2019




                               THE HONORABLE BILL PARKER
                               CHIEF UNITED STATES BANKRUPTCY JUDGE
